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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                      February 01, 2024
                    UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

JENNIFER ROBINSON,                     §
                                       §
       Plaintiff,                      §
                                       §
VS.                                    §              3:23-cv-170
                                       §
DEUTSCHE BANK NATIONAL                 §
TRUST,                                 §
                                       §
       Defendant.                      §

                            FINAL JUDGMENT

       Pursuant to the court’s memorandum opinion, Dkt. 14, entered in this

case granting the defendant’s motion for summary judgment, Dkt. 11, it is

ordered that this case is dismissed with prejudice.

             THIS IS A FINAL JUDGMENT.

             All pending motions are denied as moot.

             The clerk will provide copies of this judgment to the parties.

             Signed on Galveston Island this 1st day of February, 2024.


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                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
